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IN THE UN!TED STATES DlSTRlCT C.URT
FOR THE EASTERN DISTR!C'.[` OF VIRGINIA

Alexandria Division
UNITED S'!`ATES OF AMER!CA )
)
v. )
) Case No. l: lB-cr'83
FAUL J. MANAFORT, JR., )
Defendant. )
)
)

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On August 21, 2018, ajury reached a guilty verdict on Counts 1 through 5, 12, 25 and 27
of the Supersoding lndictment, but deadlocked on Counts 11, 13, 14, 24, 26, 28, 29, 30_. 31 and
32. Becausc of manifest necessity, a mistrial was declared on Counts ]l, 13, 14, 24, 26, 28_. 29,
30, 31 and 32. The szcial Counsel was initially ordered to decide whether to retry defendant on
these counts by August 29, 2018; however, this deadline was continued at thc Special Counsel’s
request to one week after any ruling on post-trial motions issucd. No post~ttial motions have
been filed in this case.

Instead_. defendant entered into a plea agreement with the Special Counsel in the United
States District Cotut for the District of Columbia, ln this plea agreement defendant agrees to
plead guilty to two counts of the Superseding Criminal Infomiation in the Distxict of Columbia
and also agrees to cooperation with the Special Counsel`s investigation (Doc. 296.) The I.C.
plea agreement and the parties subsequent filings appear to anticipate that dcfendant’s sentencing
in this case and the govemment`s decision on whether to re~try thc defendant on Counts ll, 13,
14, 24_. 26, 28, 29, 30, 31 and 32 will be deferred until after thc dcfendant"s cooperation is

complete (Doc. 298.) 'I`his would be highly unusual In this listrict, the govemment’s decision

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to re-try a defendant on deadlocked counts is always made in a timely manner and sentencing
occurs within two to no more than four months from entry of a guilty plea or receipt of a jury
verdict It` a defenth is cooperating with the government before sentencing and plans to
continue that cooperation after scntencing, thc government must decide whether to file a SKl.l
motion, a Ru.le 35 motion or both in circumstances where filing both is appropriate 'l`his case
appears to be no different from any other case in which defendant is cooperating and that
cooperation is expected to extend beyond a scheduled sentencing date.

Thus, it appears in this case that the proper course of action is to resolve the deadlocked
counts by either retrial or dismissal, to sentence the defendant, and finally to resolve any motions
related to defendant’s cooperation

Accordingly,

lt is hereby ORDERED that the parties shall appear on Friday, Oetober 19. 2018 at
1:15 g.m. (i) so that defendant may be advised regarding his right to thc preparation of a
presentence investigation report (“PSR”), (ii) so that a sentencing date may be set and a PSR
ordered, and (iii) so that the parties may address dismissal of the outstanding counts on which the
jury deadlocked

l`he Clerk is directed to send a copy of this Order to the Marshals Scrvioe, the Probation
Office, and all counsel of record.

Alexandria., Virginia
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